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November 29, 2023

VIA CM/ECF & EMAIL
Honorable Jesse M. Furman
United States District Judge
South District of New York
500 Pearl Street

New York, NY 10007

Re: United States vs. Michael Cohen 18-Cr-602 and 18-Cr-850

Dear Judge Furman:

Please be advised that David M. Schwartz, Esq. represents Mr. Michael Cohen, for the purpose of
seeking your Honor’s intervention in requesting that you discharge Mr. Cohen from Supervised
Release. On December 6, 2022, we made the same application to your Honor in which you denied our
application on December 19, 2022, without prejudice as premature. The Court states in that decision that
“the question is close”, but on balance the factors weighed in favor of the government. Your Honor certainly
left the door open for future applications. On June 9, 2023, your honor denied our second request stating
that “He has failed to identify any new extraordinary or sufficiently compelling reasons for his request.
Accordingly, the motion should be denied.” Mr. Cohen’s term of supervised release commenced on
November 22, 2021, and he has now served more than two-thirds of his three-year term. We believe in our
current application; we will clearly identify compelling reasons for this latest request for discharge from
Supervised Release.

There has been a substantial change in circumstances since our last application. Michael Cohen
testified for two straight days in the case of the State of New York v. Donald J Trump et al; to which Attorney
General Letitia James credited Mr. Cohen for the investigation. He endured two days of grueling cross
examination in his testimony on behalf of the People of the State of New York and this testimony has been
widely lauded and publicized’. The United States Attorney, in all our applications, has continued to
challenge the substantial value of the cooperation of Mr. Cohen. With this new testimony, there can be no
doubt of Mr. Cohen’s continued commitment to comply with all government agencies. Mr. Cohen's
unwavering cooperation with a multitude of investigative bodies, including the Muelier Investigation, seven
congressional hearings, twenty-three meetings with the Manhattan District Attorney, two days of Grand
Jury testimony, as well as two days of draining testimony at the New York Attorney General's trial, has
played a pivotal role in uncovering and prosecuting wrongdoing. His willingness to come forward and
provide truthful accounts of his experiences, despite the dangers and harm it has caused himself and his
family, demonstrates an exceptional level of remorse and a commitment to upholding the law that cannot
be denied by this Court or the United States Attorney General’s Office.

' See Mr, Cohen's complete testimony Ex. A and Ex. B, attached.
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Specifically, at the recent New York Attorney General trial, for more than 10 hours on the stand,
Mr. Cohen provided damning evidence of the Trump Organization's alleged business misconduct, including
testifying that he and other executives inflated the value of the Trump Organization’s assets on financial
statements in order to secure favorable loans and insurance premiums. Mr. Cohen's testimony was critical
to the Attorney General's case in that he testified that the Trump Organization would instruct them to
increase the numbers on financial statements, even when they knew the true values were lower. It must also
be acknowledged that Mr. Cohen will again be called in March 2024 as “the key witness” in the Manhattan
District Attorney's trial. These testimonies do not come without substantial anxiety and stress, including
threats of physical harm and death.

An additional change in circumstances is the support of United States Probation Officer Sandra
Osman. Probation Officer Osman, through an email to my office states the following, “Mr. Cohen has been
compliant with all the terms and conditions of supervised release. He has maintained employment, reported
as directed, made himself available for any requests from the Probation Office and satisfied his Court
ordered financial obligations. He has not sustained any new arrests or criminal charges. He has
approximately one-year remaining of his thirty-six-month term of supervised release. He is duc to
successfully complete his term of supervised release on November 21, 2024. Based on the aforementioned,
we do not oppose the submission of an early termination request for the Court’s consideration.”

Under 18 U.S.C. § 3583(e)(2), the court may, after considering the applicable factors in 18 U.S.C.
§ 3553(a), "modify, reduce, or enlarge the conditions of supervised release, at any time prior to the
expiration or termination of the term of supervised release, pursuant to the provisions of the Federal
Rules of Criminal Procedure relating to modification of probation and the provisions applicable to the
initial setting of the terms and conditions of post-release supervision[.]"

Obviously, given the public nature of Mr. Cohen’s prosecution, it is widely acknowledged that Mr.
Cohen endeavored to, and has provided meaningful assistance to the government, on a plethora of issues
and matters * There is also no question that both Mr. Cohen and his family have paid a heavy price for his
transgressions. Mr. Cohen has taken criminal responsibility for his actions and continues to suffer
tremendously as a result.

As recently as 2022, there have been District Court decisions, affirmed by the Second Circuit
Court, granting early termination of supervised release, Following are three such examples:

2 Mr. Cohen proved to be an invaluable governmental asset by assisting authorities in various investigations. Some of his notable contributions
include:

1. Manhattan District Attorney’s Office; Three meetings while in prison and 12 in total. Mr, Cohen had no obligation to meet with the Manhattan
District Attorney’s Office, and he teceived no benefit from doing so.

2, New York Attorney General’s Office: Three meetings with Attomey General Letitia James both before and after Mr. Cohen’s sentence, He
voluntarily provided the NYAG with several important documents.

3. Southern District of New York: Mr, Cohen inet with the SDNY and Special Counsel’s Office (SCO) of the Department of Justice before the
entry of his plea in August 2018. Mr. Cohen participated in seven voluntary interviews with both offices.

4. Special Counsel’s Office: Mr. Cohen met with the SCO approximately ten times regarding the Mueller probe-albeit the inquities falling
outside conventional framework in which courts routinely engage in,

5. United States Congress: Specifically, Mr Cohen met with the House Oversight Committee on three occasions, the House Intelligence
Committee on three occasions, the Senate Intelligence Committee on three occasions, and individual Members of Congress for countless
house preparing thom for hearings.
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United States v. Figueroa-Flores, 64 F, 4 223 (2d Cir 2022)

This case involved a defendant who had been convicted of possession with intent to distribute
cocaine. He was sentenced to 60 months in prison, followed by five years of supervised release.
After serving two years of his supervised release term, the defendant filed a motion for early
termination. The district court granted the motion, finding that the defendant had complied with all
the conditions of his supervised release, had no history of criminal convictions or arrests, and had
made significant progress in rehabilitating himself.

The Second Circuit affirmed the district court's decision. The court found that the district court had
not abused its discretion in granting early termination, and that the defendant had met the burden
of demonstrating that he was no longer a danger to the community.

United States v. Ortiz (No. 21-3391), 2022 WL 4424741 (2d Cir, Oct. 11, 2022)

This case involved a defendant who had been convicted of conspiracy to distribute cocaine base.
He was sentenced to 120 months in prison, followed by five years of supervised release. After
serving two years of his supervised release term, the defendant filed a motion for early termination.
The district court granted the motion, finding that the defendant had complied with all the
conditions of his supervised release, had no history of criminal convictions or arrests, and had made
significant progress in rehabilitating himself.

The Second Circuit affirmed the district court's decision. The court found that the district court had
not abused its discretion in granting early termination, and that the defendant had met the burden
of demonstrating that he was no longer a danger to the community.

United States v. Amato, 2022 WL 1669877 (2d Cir, May 10, 2022)

This case involved a defendant who had been convicted of tax evasion’. He was sentenced to 36
months in prison, followed by three years of supervised release. After serving two years of his
supervised release term, the defendant filed a motion for early termination. The district court
granted the motion, finding that the defendant had complied with all the conditions of his
supervised release, had paid his full tax liability, and had made significant progress in rehabilitating
himself.

The Second Circuit affirmed the district court's decision. The court found that the district court had
not abused its discretion in granting early termination, and that the defendant had met the burden
of demonstrating that he was no longer a danger to the community.

The factors that courts consider in granting early termination of supervised release are set forth in

18 U.S.C. § 3553(a). These factors include:

The nature and seriousness of the offense

The defendant's history of criminal convictions or arrests

The defendant's compliance with the conditions of supervised release
The defendant's progress toward rehabilitation

The danger that the defendant poses to the community.

In addition to these factors, courts may also consider other factors, such as the defendant's age,

health, and family circumstances.

* Tt should be noted that this particular case’s fact pattern is almost identical to Mr, Cohen’s.
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It should be noted that if there is anyone who fits the profile of a candidate for termination of
Supervised Release, it is Mr. Cohen. In the 25 months since his home confinement, he has shown time and
again that he has met all the conditions as stated above.

Mr. Cohen satisfied his restitution and settled his obligations prior to his sentencing and within 24
hours of the government providing him with the obligation amount.

We would respectfully venture further that Mr. Cohen presents no risk of recidivism and is a model
candidate for a cessation of Supervisory Release. Indeed “[i]n the federal courts, supervision is ...a way to
monitor the activities and behavior of people released to the community by the federal courts or paroling
authorities... [and] ...an opportunity to help offenders reintegrate into the community following a period
of incarceration... The desired outcomes of supervision are the execution of the sentence and the protection
of the community by reducing the risk and recurrence of crime and maximizing defendant success during
the period of supervision and beyond, The goal in all cases is the successful completion of the term of
supervision, during which the defendant commits no new crimes; is held accountable for victim, family,
community, and other court-imposed responsibilities; and prepares for continued success (i.e., refraining
from further crime) through improvements in his or her conduct and condition.”

It is inarguable that the goals of supervision have been fulfilled. Mr, Cohen has exceeded all his
court-imposed responsibilities, is a loving husband and father, presents no risk of recurrence, and generally
does not require the social services’ support to appropriately reintegrate into society (as confirmed by
Probation Officer Osman).

Mr. Cohen began serving his sentence of 36 months imprisonment and three years of Supervised
Release on or about May 6, 2019. Mr, Cohen’s petition for a Writ of Habeas Corpus, pursuant to 28 U.S.C.
§ 2241, was dismissed on April 20, 2021, for procedural reasons. Specifically, the court articulated that his
petition was denied because it was premature and not ripe for review considering the First Step Act was not
fully implemented. Although the petition was rejected for the noted reasons, we ask this court to reconsider
it as a factor in Mr. Cohen’s current application for a discharge from Supervised Release. The instrumental
arguments made in favor then should otherwise be obtained now. °

While Mr. Cohen was imprisoned at Otisville, he earned numerous certificates upon completion of
programs that would have otherwise counted towards First Step Act points®. Because of timing, Mr. Cohen
was never credited with those points. These programs are just one barometer indicative of his rehabilitation
which favors his discharge from Supervised Release. Furthermore, Mr. Cohen reached out to Darrin
Howard, Regional Counsel of the Northeast Region of the Federal Bureau of Prisons, more than 30 times
regarding his First Step Act points without receiving any response,

We are asking that you consider the totality of the circumstances surrounding the remainder of Mr.
Cohen’s term of Supervised Release. It is never the wrong time to do the right thing, and once again, it
bears repeating that Mr. Cohen has paid for his crimes, and his participation with government offices, as
articulated in Footnote 1, has provided substantial and meaningful assistance in other prosecutions and
investigations. Given the volume and quality of evidence that Mr. Cohen has provided to authorities, at
great personal expense, we believe that an early release would encourage similarly situated figures to take
an active role in cooperating in high profile investigations that are rife with consequence.

+ lntps:/www-uscourts. ov/services-fonns/ robation-and-pretrial-services/probation-and-pretrial-services-supervision

5 Mr. Cohen’s Habeas Corpus Petition enunciated that he had a right to time credits under the First Step Program and if not granted, he would spend
more time in confinement than required under the law. This argument was premised as a denial of Mr. Cohen’s fundamental due process rights,
See Bx. C, attached,

6 See Ex. D, attached,

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It should not be lost on the Court in making its decision that because of his extensive cooperation
with government, prosecutors and various agencies, he was unconstitutionally remanded back to FCI
Otisville in violation of his First Amendment constitutional right, as stated by Alvin K, Hellerstein, U.S.D.J:

“Upon the findings and conclusions stated on the record at oral argument conducted telephonically
on July 23, 2020, Petitioner Michael D. Cohen’s motion for injunctive relief, see ECF No. 4, is granted as
follows. The Court finds that Respondents’ purpose in transferring Cohen from release on furlough and
home confinement back to custody was retaliatory in response to Cohen desiring to exercise his First
Amendment rights to publish a book critical of the President and to discuss the book on social media.
Accordingly, Respondents are hereby enjoined from any continuing or future retaliation against Cohen for
exercising his First Amendment rights.”

It is also worth noting that Mr. Cohen has indeed faced hardship because of Supervised Release
requirements, In a society where last-minute plans are the norm, jumping on a plane to visit his parents,
one of whom is a Holocaust survivor, is impossible. Spontaneous requests to visit friends or family outside
of the borough of Manhattan are non-existent as approval of this is required. While it is true that Mr. Cohen
has been allowed international travel as well, the onus of such travel is not a light one. International travel
requires that Mr. Cohen be detained by INS upon re-entry into the United States and be held up to an hour
while INS checks with DOJ and the Probation Office if he had the authorization to travel internationally.
This has proven to be a stressful, frustrating, and embarrassing experience, so much so that Mr. Cohen has
turned down prestigious invitations to speak overseas, such as highlighted in the enclosed invitation from
The Oxford Union in Great Britain.®

Further, in sum and substance, Mr, Cohen has complied with the spirit of the First Step Act in every
way, shape, and form. He has clearly demonstrated that he has been rehabilitated, and not in need of
additional Supervised Release; has not committed further offences of any kind and has fully cooperated
with all government authorities. Mr. Cohen continues paying his tax obligations on or before they are due.
He was a model prisoner, who has committed no infractions while on home confinement, or during the two
years on Supervised Release.

We respectfully conclude that Michael Cohen is the perfect candidate to be discharged from
Supervised Release which would communicate to the wider community that justice is tempered by merey

and is proportionally administered.

We appreciate Your Honor’s consideration.

Respectfully submitted,

See.

David M. Schwartz, Esq.
Attorney for Michael Cohen

cc: All counsel of record (via ECF)

7 See Ex. B, atlached
8 See Ex, F, attached
